Case 18-33025-jal   Doc 13   Filed 12/10/18   Entered 12/10/18 12:22:42   Page 1 of 6




                UNITED STATES BANKRUPTCY COURT
                 WESTERN DISTRICT OF KENTUCKY
                      LOUISVILLE DIVISION

IN RE:                                   )
                                         )
CURT E. LIEBMAN                          )    Chapter 7
                                         )
                    Debtor               )    Case No. 18-33025-jal
                                         )

                       MOTION TO DISMISS
                  *********************************
       Paul A. Randolph, the Acting United States Trustee for Region 8

(the “United States Trustee”), through undersigned counsel, hereby

moves the Court for an order dismissing this chapter 7 case pursuant to

11 U.S.C. § 707(b)(1)-(2) or 11 U.S.C. § 707(b)(3). In support of this

Motion, the United States Trustee states and alleges as follows:

                                 Jurisdiction

       1.   The Court has jurisdiction of this matter under 28 U.S.C. §

1334(a) and (b); 28 U.S.C. § 157(a) and (b)(1); and 28 U.S.C. § 151.

       2.   This is a core proceeding under 28 U.S.C. § 157(b)(2)(A) and

(B).

       3.   The statutory predicates for the relief sought herein are 11

U.S.C. § 707(b) and Fed. R. Bankr. P. 1017(e).
Case 18-33025-jal   Doc 13   Filed 12/10/18   Entered 12/10/18 12:22:42   Page 2 of 6




      4.    The United States Trustee has standing to bring this Motion

pursuant to 11 U.S.C. §§ 307 and 707(b).

      5.    Curt E. Liebman filed his voluntary petition under chapter 7

of the Bankruptcy Code on October 1, 2018.

      6.    Pursuant to 11 U.S.C. § 341(a), the meeting of creditors was

first set for October 30, 2018.

      7.    Mr. Liebman’s petition and schedules indicate that his

financial   obligations      are   primarily     consumer      debts,     including

$810,671.92 of unsecured non-priority claims.

      8.    Mr. Liebman’s Official Form 122A-2 indicates that a

presumption of abuse arises in this case. The Official Form 122A-2 filed

in this case also indicates that Mr. Liebman does not have any “special

circumstances” that may rebut the presumption of abuse.

      9.    The United States Trustee has reviewed Mr. Liebman’s

Official Forms 122A-1 and 122A-2 and other documents produced by Mr.

Liebman, and agrees that a presumption of abuse arises in this case.

      10.   In accordance with 11 U.S.C. § 704(b)(1)(A), the United States

Trustee filed a statement of presumed abuse on November 9, 2018.




                                         2
Case 18-33025-jal   Doc 13   Filed 12/10/18   Entered 12/10/18 12:22:42   Page 3 of 6




Accordingly, this Motion is timely filed as required under 11 U.S.C. §

704(b)(2).

      11.    Based on review of the documents filed in this case or

otherwise supplied by Mr. Liebman, the United States Trustee has

determined that further inquiry is warranted in this case to verify certain

information provided in Mr. Liebman’s schedules, statements, and sworn

testimony made at the adjourned meeting of creditors. Counsel for Mr.

Liebman has assured the United States Trustee that amendments to Mr.

Liebman’s schedules and statements are imminent, but have not yet been

filed as of the filing of this Motion.

      12.    An examination of Mr. Liebman pursuant to Fed. R. Bankr.

P. 2004 has been scheduled for December 18, 2018, and the United States

Trustee reserves the right to amend this Motion as needed following

information solicited via oral examination of Mr. Liebman.

                                   Argument

      13.    There appear to be no valid special circumstances that Mr.

Liebman can present to overcome the presumption of abuse as set forth

in 11 U.S.C. § 707(b)(2)(B). In fact, Mr. Liebman has not attempted to




                                         3
Case 18-33025-jal   Doc 13   Filed 12/10/18   Entered 12/10/18 12:22:42   Page 4 of 6




provide evidentiary support of any alleged special circumstances as

required by 11 U.S.C. § 707(b)(2)(B(ii)-(iii).

      14.   Mr. Liebman does not appear to be entitled to relief under

chapter 7 in that his disposable income would be sufficient to repay a

significant portion of his unsecured non-priority debt, and he is not

needy. In re Krohn, 886 F.2d 123 (6th Cir. 1989). The case should be

dismissed pursuant to 11 U.S.C. § 707(b)(1)-(2).

      15.   Alternatively, the Court should dismiss this case pursuant to

11 U.S.C. § 707(b)(1) and (3)(B), and/or 11 U.S.C. § 707(a)(3).

      16.   Under the totality of the circumstances of Mr. Liebman’s

financial circumstances, this case should be dismissed. Upon information

and belief, despite Mr. Liebman’s brief period of unemployment he is

currently gainfully employed and earning income comparable to his pre-

petition    employment.      Pending      the    aforementioned       Rule     2004

examination and forthcoming amendments, the United States Trustee

anticipates that Mr. Liebman has disposable income that will yield an

opportunity for unsecured non-priority claimants to recover substantial

payments on their claims.




                                         4
Case 18-33025-jal   Doc 13   Filed 12/10/18   Entered 12/10/18 12:22:42   Page 5 of 6




      17.   Finally, in the event that Mr. Liebman amends Schedules I or

J, or Official Forms 122A-1 and 122A-2, during or subsequent to any

hearing in this matter, the case should be dismissed pursuant to 11

U.S.C. § 707(a) by reason of his failure to file, at or about the beginning

of this case, accurate schedules of current income as required by 11

U.S.C. § 521(a)(1)(B).

      WHEREFORE, the United States Trustee respectfully requests

that the Court dismiss this chapter 7 case, and for such other relief as

the Court deems proper.

      A proposed order is tendered herewith.

                                          Respectfully submitted,

                                          PAUL A. RANDOLPH
                                          ACTING     UNITED               STATES
                                           TRUSTEE, REGION 8

                                          /s/ Tyler R. Yeager
                                          TYLER R. YEAGER
                                          U.S. DEPARTMENT OF JUSTICE
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                                          Trial Attorney



                                         5
Case 18-33025-jal   Doc 13   Filed 12/10/18   Entered 12/10/18 12:22:42   Page 6 of 6




                       CERTIFICATE OF SERVICE

     In accordance with Local Rule 9036-1, I certify that on December
10, 2018, I sent a copy of the foregoing Motion to Dismiss to all parties
who requested notice in the above-captioned case by either: (1) electronic
means through the Bankruptcy Court’s CM/ECF system; or (2) First
Class U.S. Mail if the Notice of Electronic Filing from this Court’s
CM/ECF system indicates that there are interested parties not deemed
to have consented to electronic notice or service. I further certify that a
copy of the foregoing Motion and Proposed Order were served upon the
debtors via First Class U.S. Mail, postage pre-paid, at the following
address:

      Curt E. Liebman
      11502 Braiden Pl
      Louisville, KY 40291

                                          /s/ Tyler R. Yeager
                                          TYLER R. YEAGER




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